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                            UNITED STATES BANKRUPTCY COURT
                              SOUTHERN DISTRICT OF TEXAS
                                    HOUSTON DIVISION

In re:                                                 :
                                                       :
HOUSTON REGIONAL SPORTS                                :       Chapter 11
NETWORK, L.P.                                          :
              Debtor.                                  :       Case No.: 13-35998
                                                       :
                                                       :
                 STIPULATION AND ORDER GOVERNING
               THE PRODUCTION AND/OR DISCLOSURE OF
      CONFIDENTIAL PLAN DOCUMENTS AND DISCOVERY MATERIALS
    AND AUTHORIZING THE FILING OF CERTAIN DOCUMENTS UNDER SEAL

          This Stipulation and Order (the “Protective Order”) is entered into by and between

(a) Houston Regional Sports Network, L.P. (“Debtor”); (b) Houston SportsNet Finance, LLC,

Comcast Sports Management Services, LLC, National Digital Television Center, LLC, Comcast

SportsNet     California,    LLC,   Houston     SportsNet     Holdings,     LLC,       Comcast   Cable

Communications, LLC, SportsChannel Pacific Associates, NBCUniversal Media LLC,

SportsChannel New England LLC (collectively, the “Comcast Parties”); (c) Astros HRSN LP

Holdings LLC, Astros HRSN GP Holdings LLC and Houston Astros, LLC; (d) Rockets Partner,

L.P., Rocket Ball, Ltd. and Clutch City Sports & Entertainment, L.P. (collectively, the

“Rockets”); (e) AT&T Services, Inc., and AT&T Teleholdings, Inc. (collectively, “AT&T”); (f)

DIRECTV, LLC and DIRECTV Sports Networks, LLC (collectively, “DIRECTV” and

collectively with AT&T the “Investors”); and (g) any other persons or entities who become

bound by this Protective Order by signifying their assent through execution of Exhibit A hereto

(each of (a) through (g) individually, a “Party,” and, collectively, the “Parties”).

          WHEREAS, the Debtor, Rocket Ball, Ltd., and Houston Astros, LLC (the “Plan

Proponents”), are the proponents of the Chapter 11 Plan of Reorganization dated August 6, 2014
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in respect of Houston Regional Sports Network, L.P. (as it may be amended, modified, or

supplemented, the “Plan”) in the above-referenced Chapter 11 case (the “Chapter 11 Case”);

         WHEREAS, by order dated August 7, 2014, the Bankruptcy Court deemed confirmation

of the Plan and approval of the Disclosure Statement a “contested matter” under the Bankruptcy

Code (the “Contested Matter”);

         WHEREAS, the Parties anticipate exchanging certain documents and information and

deposing witnesses in connection with the Contested Matter;

         WHEREAS, the Plan Proponents and the Investors also contend that certain of the Plan

Documents (as defined in the Plan) contain confidential information that is subject to protection

from disclosure under Bankruptcy Code Section 107 and Federal Rule of Bankruptcy Procedure

9018;

         WHEREAS, the Parties recognize that their exchange of information and responses to

discovery requests may require the Parties to divulge information that a Party considers to be

Confidential or Highly Confidential (each as defined herein), including but not limited to

financial, proprietary, and commercially sensitive information regarding the Parties, the Debtor,

and their businesses;

         WHEREAS, the Parties seek to facilitate the prompt resolution of disputes over

confidentiality and to prevent the disclosure and use of Confidential and Highly Confidential

Discovery Materials (as defined herein) except as set forth herein.

         NOW, BASED ON THE FOREGOING STIPULATIONS, IT IS ORDERED:

         1.    This Protective Order governs the handling of all documents, information, data,

testimony, and other materials produced or disclosed in discovery in connection with the

Contested Matter (“Discovery Materials”).

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       2.      “Producing Party” shall mean a Party that produces Discovery Materials in

connection with the Contested Matter.

       3.      “Receiving Party” shall mean a Party that receives Discovery Materials in

connection with the Contested Matter.

       4.      “Designating Party” shall mean a Producing Party that designates Discovery

Materials that it produces in connection with the Contested Matter as “Confidential” or “Highly

Confidential” in accordance with the provisions set forth herein.

       5.      All deadlines stated herein shall be computed pursuant to Federal Rule of

Bankruptcy Procedure 9006.

       6.      All Discovery Materials, whether or not designated as “Confidential” or “Highly

Confidential” in accordance with provisions set forth herein, shall be used by the Receiving

Parties solely for purposes of the Contested Matter, and only to the extent reasonably necessary

to accomplish the purpose for which disclosure is made, and not for any other purpose, including

any other litigation or judicial proceedings, or any business, competitive, governmental,

commercial, or administrative purpose or function.

       7.      Nothing contained herein shall be deemed a waiver of any objection concerning

the confidentiality of any documents, information, or data requested by a Party.

       8.      “Confidential” Discovery Materials are materials that contain (a) trade secret or

other confidential research, development, or commercial information protected by Rule 9018 of

the Federal Rules of Bankruptcy Procedure, (b) information subject by law or by contract to a

legally protected right of privacy, (c) information which the Producing Party is legally obligated

by law or contract to keep confidential, as reasonably determined by the Producing Party, or (d)




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information that the Producing Party would not normally reveal to third parties except in

confidence or has undertaken with others to maintain in confidence.

       9.        “Highly Confidential” Discovery Materials are materials that are Confidential, as

defined herein, and that also include competitively sensitive Confidential Discovery Materials of

the Designating Party, the disclosure of which may result in competitive harm, including, but not

limited to (i) any documents or information relating to or reflective of market strategies,

including business planning, contract negotiations and terms, and research and development

activities, (ii) any documents or information relating to or reflective of pricing, including

underlying cost data, budgets, and any price-related terms of a party, and (iii) any documents or

information relating to or reflective of customer information.

       10.       A Producing Party who reasonably and in good faith believes that Discovery

Materials are Confidential, as defined in paragraph 8, or “Highly Confidential,” as defined in

paragraph 9, may so designate the Discovery Materials as follows:

                 a.     By imprinting the term “Confidential” or “Highly Confidential,” as

appropriate, on each page of any document produced that is so designated or, in the case of a

document or information produced in native format, on an accompanying production page;

                 b.     By imprinting the term “Confidential” or “Highly Confidential,” as

appropriate, next to or above any response to a written discovery request such as an

interrogatory;

                 c.     With respect to transcribed testimony, by giving written notice to

opposing counsel designating such portions (and exhibits thereto) as “Confidential” or “Highly

Confidential,” as appropriate, no later than seven (7) calendar days after receipt of the final

transcript of a deposition, or by orally designating such testimony as “Confidential” or “Highly

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Confidential,” as appropriate, on the record at the deposition or other proceeding at which it is

given. Until the seven (7) calendar day period expires, all deposition transcripts shall be treated

as Highly Confidential. The Party making the designation shall be responsible for ensuring that

those portions of the deposition transcript designated as “Confidential” or “Highly Confidential”

are appropriately marked and sealed by the reporter; and

               d.      For Discovery Materials produced in non-paper media (e.g., videotape,

audiotape, and computer disk), designation shall be made by affixing in a prominent place on the

exterior of the container or containers in which the Discovery Materials are stored the legend

“Confidential” or “Highly Confidential,” as appropriate.

       11.     Discovery Materials previously designated Confidential or Highly Confidential

that are marked as exhibits during a deposition shall be treated accordingly by the Parties.

       12.     If a Designating Party believes that a deposition question calls for Highly

Confidential Discovery Materials of the Designating Party, counsel for that Party may, before the

witness answers, so state, and any persons who are in attendance who are not authorized under

this Protective Order to have access to such Highly Confidential Discovery Materials must then

absent themselves for the duration of the testimony containing Highly Confidential Discovery

Materials. A Party’s failure to so advance designate at a deposition shall not constitute a waiver

of that Party’s right to later designate such testimony as Confidential or Highly Confidential

pursuant to this Protective Order.

       13.     A Party’s inadvertent failure to designate any Discovery Materials as Confidential

or Highly Confidential shall not be deemed a waiver of that Party’s later claim that such

Discovery Materials are Confidential or Highly Confidential and such Party may designate such

Discovery Materials as Confidential or Highly Confidential pursuant to this Protective Order at

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any time thereafter. At such time, arrangement will be made for the return to the Producing Party

of all copies of the mis-designated Discovery Materials and for the substitution, where

appropriate, of properly labeled copies of such Discovery Materials. All previously produced

copies of such Discovery Materials that were mis-designated shall be destroyed by the Receiving

Party or Parties upon receipt of replacement copies of such Discovery Materials with the proper

designation. The Receiving Party shall verify in writing that it has destroyed said mis-designated

Discovery Materials.

       14.     Discovery Materials designated Confidential, and any and all information

contained within those Discovery Materials, may be disclosed only to the following persons:

               a.      Outside counsel of record for the Parties and employees of such attorneys

or their firms involved in the Chapter 11 Case, including service providers, such as electronic

discovery vendors, graphic services, printing and document duplicating or management services;

               b.      Officers, directors and in-house counsel of Parties to this Chapter 11 Case

(or of corporate parents, owners, subsidiaries, or affiliates of Parties to this Chapter 11 Case);

               c.      Employees of Parties to this Chapter 11 Case who are actively engaged in

assisting counsel with the Contested Matter, provided that such persons are given a copy of this

Protective Order and agree to be subject to and bound by the terms thereof in an affidavit in the

form of Exhibit A hereto;

               d.      To the extent disclosure is not authorized under another subparagraph,

witnesses and potential witnesses who have been noticed or subpoenaed for testimony in

connection with the Contested Matter, other than experts, in connection with actual or potential

testimony (including deposition testimony) relating to the Contested Matter, provided there is a

reasonable basis to believe that the witnesses or potential witnesses may give relevant testimony

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regarding the Confidential Discovery Materials. The witness shall be informed that this

Protective Order restricts the disclosure of the Confidential Discovery Materials, that he or she

may consider and/or use such Discovery Materials only for purposes of preparing to testify or

testifying for purposes of the Contested Matter and not for any other purpose, and that he or she

is subject to the Bankruptcy Court’s jurisdiction for purposes of enforcing this Protective Order.

No individual who is shown Discovery Materials designated Confidential pursuant to this

subsection shall be permitted to retain or keep copies of such Discovery Materials or to view

them outside the presence of counsel, unless permitted by some other provision of this Protective

Order to do so;

               e.     With respect to particular documents or data designated as Confidential,

any individual indicated on the face of the document as its author, addressee, or other recipient,

or any other sender/transmitter or recipients of the document or data;

               f.     Actual or potential independent experts or consultants retained by a Party

in connection with the Contested Matter, and the employees of such experts or consultants (or

the employees or members of any firm through which the expert or consultant is performing

work for purposes of the Contested Matter), provided that such experts or consultants are not

employed by an actual or reasonably likely future competitor or business counterparty of the

Producing Party, or retained on separate matters adverse to the interests of the Producing Party,

at the time of disclosure. “Independent” for purposes of this subparagraph refers to a person who

is not otherwise employed by, is not an officer or director of, and does not have an ownership

interest in the Party by which he or she is retained in this Contested Matter. A person is

“employed by” a Party if that person is on the regular payroll of the Party or an affiliate of the




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Party. Before Discovery Materials designated as Confidential are disclosed to any individual

under this subparagraph, the individual must sign an affidavit in the form of Exhibit A hereto;

               g.      The Bankruptcy Court and the Bankruptcy Court’s personnel working on

this Chapter 11 Case (absent further order of the Bankruptcy Court that may be made respecting

confidentiality of materials presented in Bankruptcy Court);

               h.      Special masters, mediators, arbitrators, or referees appointed by the

Bankruptcy Court or retained by the Parties;

               i.      Court reporters, videographers, and their clerical personnel in connection

with work on this Chapter 11 Case relating to the Contested Matter;

               j.      Such other persons as the Parties may agree upon in writing or as ordered

by the Bankruptcy Court.

       15.     Discovery Materials designated Highly Confidential, and any and all information

contained within those Discovery Materials, may be disclosed only to the persons described in

paragraphs 14(a), (e), (f), (g), (h), (i), and (j) under the terms and conditions therein specified. In

addition, a Party may disclose Discovery Materials designated Highly Confidential: to (1) a

witness or potential witness employed by the Designating Party or by a corporate parent, owner,

subsidiary, or affiliate of a Designating Party; or (2) other witnesses and potential witnesses, but

in respect of both subsections 15(1) and (2), only to the extent that counsel for the examining or

preparing Party reasonably believes in good faith that such witness or potential witness authored

or previously received or reviewed the Highly Confidential Discovery Materials in the course of

business. In addition, to the extent the designated Discovery Materials purport to describe the

conduct or statements of the witness or potential witness, he or she may be shown the particular




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portion of the designated Discovery Materials purporting to describe his or her conduct or

statements, but only that portion and not the remainder of the Discovery Materials.

       16.     All individuals authorized to review Confidential or Highly Confidential

Discovery Materials pursuant to this Protective Order shall hold said Discovery Materials in

confidence and shall not divulge them, either verbally or in writing, to any other person, entity,

or government agency, except to the extent permitted by paragraphs 14 and 15, unless authorized

to do so by court order or, subject to paragraph 28, as required by subpoena, and shall not

directly or indirectly consult, review, consider or make any use whatsoever of such Discovery

Materials for any purpose other than in compliance with paragraph 6 above.

       17.     All Parties shall, and shall cause their agents, employees, controlling persons,

consultants, advisors, accountants, and legal counsel (collectively, the “Representatives”), to use

the Discovery Materials solely in a manner consistent with this Protective Order and make all

reasonably necessary efforts to safeguard Discovery Materials designated Confidential or Highly

Confidential from disclosure to anyone other than as permitted hereby. The Parties agree that

Representatives who are given access to Confidential or Highly Confidential Discovery

Materials will be instructed that such persons and the Parties are bound by the terms of this

Protective Order.

       18.     If a Party objects to the designation of certain Discovery Materials as Confidential

or Highly Confidential, the Party shall so inform the Producing Party in writing, stating the

grounds for the objection, as soon as practicable, but no later than five (5) business days from the

date of use if the objected-to Discovery Materials are used in pleadings, depositions, hearings, or

written discovery. Counsel for all Parties shall have five (5) business days from the date the

Producing Party received the written objections to attempt to resolve the dispute in good faith

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and on an informal basis. If after such good faith attempt the dispute remains unresolved, the

Party opposing the designation may move for an order requiring de-designation or re-designation

of the Confidential or Highly Confidential information. All information shall continue to have its

designated status as Confidential or Highly Confidential, as the case may be, and any use of such

information in any pleadings, depositions, hearings, or written discovery shall remain subject to

the restrictions and requirements set forth in this Protective Order, from the time it is produced

until entry of an order by the Bankruptcy Court requiring de-designation or re-designation of the

Confidential or Highly Confidential information, or unless otherwise agreed by the Producing

Party.

         19.   Any document containing Confidential or Highly Confidential Discovery

Materials that is submitted to or filed with the Bankruptcy Court shall be filed in a sealed

envelope or other appropriate sealed container on which shall be endorsed the style of the action,

an identification of the contents of such sealed envelope or container, the words “Confidential”

and/or “Highly Confidential,” and an explanation that the Discovery Materials contained therein

have been designated Confidential or Highly Confidential pursuant to this Protective Order. A

Party submitting or filing papers under seal shall also submit or file a public version of such

papers within five (5) business days after the sealed submission or filing. Such public version

shall redact any Confidential or Highly Confidential Discovery Materials. Prior to submitting or

filing a public version of documents filed under seal, the Party making such submission or filing

shall give the Designating Party at least three (3) business days to review the proposed public

version to ensure that all Confidential or Highly Confidential Discovery Materials have been

properly redacted.




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       20.     Nothing in paragraph 19 of this Protective Order shall be construed to limit or

prohibit the right of any entity or individual having the requisite standing to challenge a

designation of any Discovery Materials as Confidential or Highly Confidential under the

procedures set forth in paragraph 18 above. Accordingly, all Confidential or Highly Confidential

Discovery Materials must be filed under seal pursuant to the procedure set out in paragraph 19

unless and until such time as the Bankruptcy Court has ruled that such Discovery Materials are

not Confidential or Highly Confidential.

       21.     Any Party or its counsel serving a subpoena upon a non-Party, which subpoena

requires the production of documents in this action, may serve a copy of this Protective Order

along with such subpoena and instruct the non-Party recipient of such subpoena that he, she or it

may designate documents produced pursuant to such subpoena as Confidential or Highly

Confidential pursuant to this Protective Order as may be appropriate.

       22.     Inadvertent disclosure of Discovery Materials that the Producing Party contends is

subject to the attorney-client privilege, work-product doctrine, or any other privilege or

immunity from disclosure (“Privileged Materials”) shall not waive any privilege, protection, or

immunity, otherwise applicable to the Privileged Materials under state or federal law. A Party

may obtain the return of any Privileged Materials by notifying the recipient(s) in writing and

requesting their return, sequestration, or destruction. Except as provided in this paragraph, within

three (3) business days, the recipient(s) shall gather and return all copies of the Privileged

Materials to the Producing Party, or alternatively, destroy the Privileged Materials and certify as

such to the Producing Party. After Privileged Materials are returned, sequestered, or destroyed

pursuant to this paragraph, a Party may move the Bankruptcy Court for an order compelling

production of the Privileged Materials, but such party may not assert as a ground for entering

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such an order the fact of inadvertent production. Nor may a party challenging the privilege

assertion assert the diligence or lack thereof of counsel in producing the document, nor the scope

of such inadvertent production as a grounds for waiver of the privilege. If a Party requests the

return, pursuant to this paragraph, of Privileged Materials then in the custody of one or more

other Parties, the possessing Parties shall not make further use of the Privileged Materials until

such time as the Bankruptcy Court has ruled on a motion respecting the privilege objections.

       23.     In the event of a disclosure by a Receiving Party of Confidential or Highly

Confidential Discovery Materials to persons or entities not authorized by this Protective Order to

receive such Discovery Materials, the Receiving Party making the disclosure shall, upon learning

of the disclosure: (i) immediately notify the entity or individual to whom the disclosure was

made that the disclosure contains Confidential or Highly Confidential Discovery Materials

subject to this Protective Order; (ii) immediately make reasonable efforts to recover the disclosed

Discovery Materials as well as preclude further dissemination or use by the entity or individual

to whom the disclosure was made; and (iii) immediately notify the Producing Party of the

identity of the entity or individual to whom the disclosure was made, the circumstances

surrounding the disclosure, and the steps taken to recover the disclosed Discovery Materials and

ensure against further dissemination or use of thereof. Disclosure of Confidential or Highly

Confidential Discovery Materials other than in accordance with the terms of this Protective

Order will subject the disclosing person to such sanctions and remedies as the Bankruptcy Court

may deem appropriate. Nothing in this Protective Order shall affect the rights of any Party,

during discovery proceedings, trial, or any other proceedings before a court, to object to the

production or admission as evidence of any Confidential or Highly Confidential Discovery

Materials.

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         24.   The termination of this Chapter 11 Case shall not relieve counsel or other persons

obligated hereunder from their responsibility to maintain the confidentiality of Confidential or

Highly Confidential Discovery Materials pursuant to this Protective Order, and the Bankruptcy

Court shall retain continuing jurisdiction to enforce the terms of this Protective Order.

         25.   Upon termination of this Chapter 11 Case, including any appeals, each Party’s

counsel shall within sixty (60) days return to the producing Party all Confidential or Highly

Confidential Discovery Materials provided subject to this Protective Order, and all extracts,

abstracts, charts, summaries, notes, or copies made therefrom, or shall, at such Party’s option,

destroy all such Discovery Materials, and all extracts, abstracts, charts, summaries, notes, and

copies made therefrom, and shall certify in writing to the producing Party that such destruction

has been accomplished. However, the Party’s outside litigation counsel shall be allowed to keep

a complete set of all pleadings, court filings, discovery responses, transcripts, exhibits used in

depositions or court, correspondence, and the attorney’s work product, even if those documents

include reference to or inclusion of Confidential or Highly Confidential Discovery Materials

(“Attorney’s File”), unless a Party objects within thirty (30) days of the termination of the

Chapter 11 Case to the outside litigation counsel’s retention of any portion of the Attorney’s File.

The Parties shall agree to confer regarding any such objection and, in the event that it is not

resolved by consent, shall bring it to the attention of the Bankruptcy Court for resolution. In any

event, such Attorney’s File shall continue to be subject to the restrictions of this Protective

Order.

         26.   The requirement to return or destroy Discovery Materials marked as Confidential

or Highly Confidential outlined in paragraph 25, above, shall not require counsel to search

through emails and email attachments (or any archives or backups thereof), except to the extent

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that counsel has an email folder dedicated to storing Confidential or Highly Confidential

information in the Chapter 11 Case. The obligations not to use and not to disclose Confidential

or Highly Confidential contained therein (including in emails, email attachments, archives or

backups, for example) shall continue in force and counsel will continue to be subject to the

restrictions of this Order with respect to any residual email materials.

       27.     Nothing in this Protective Order shall (a) be deemed to limit or restrict in any

manner a Party’s right to use, or to authorize or consent to the use of, its own Confidential or

Highly Confidential Discovery Materials; (b) be deemed to limit or restrict in any manner a

Party’s rights, if any, to use any documents, materials, or information obtained independent of

discovery in the Chapter 11 Case, whether or not such documents, materials, or information are

also obtained through discovery in this Chapter 11 Case; (c) preclude the Parties to this Order

from agreeing to alter or waive the provisions or protections provided for herein with respect to

any particular Confidential or Highly Confidential Discovery Materials; (d) preclude any Party

from filing a motion seeking greater, more limited, or different protection from the Bankruptcy

Court under applicable procedural rules; or (e) preclude any Party from filing a motion with

respect to the manner in which Confidential or Highly Confidential Information shall be treated

at trial in connection with Plan Confirmation.

       28.     Should a Party to this Protective Order receive a subpoena or other process to

disclose Confidential or Highly Confidential Discovery Materials, that Party shall provide notice

at least five (5) business days prior to production of any such Discovery Materials, in writing,

and a copy of such subpoena or other process, to the Producing Party. To the extent it is

impossible to provide notice to the Producing Party at least five (5) business days in advance of

production, the Party shall provide notice as far in advance as practicable prior to production.

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The Party receiving the subpoena or other process shall defer compliance with the subpoena or

other process if the Producing Party has timely moved to quash or modify the subpoena or other

process, until such time as there is a final order. The Party receiving such subpoena or other

process shall also advise the person or entity who has served the subpoena or other process of

this Order.

       29.      All notices given by counsel for one Party to counsel for another Party under this

Protective Order shall be delivered by electronic mail.

       30.      If any Party discloses Discovery Material designated Confidential or Highly

Confidential to a recipient such that said recipient would be required, per the terms set forth

herein, to execute an affidavit in the form of Exhibit A hereto, counsel for the Disclosing Party

shall retain an executed copy of such affidavit but need not file it with the Bankruptcy Court.

       31.      The failure to designate Discovery Materials as Confidential or Highly

Confidential shall not constitute a waiver of any claim outside of this Chapter 11 Case that such

Discovery Materials contain trade secrets or proprietary business information, or are otherwise

confidential.

       32.      Pursuant to Bankruptcy Code Section 107 and Federal Rule of Bankruptcy

Procedure 9018, the Plan Proponents and the Investors are authorized to file under seal any Plan

Documents that the Plan Proponents or the Investors believe contain Confidential or Highly

Confidential information. Even if such Plan Documents have been provided to the Comcast

Parties before such filing, the Plan Proponents and/or the Investors shall serve any Plan

Documents filed under seal upon the Comcast Parties simultaneously with filing, and the Plan

Proponents or the Investors may designate such documents Confidential or Highly Confidential

in accordance with this Protective Order.

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       33.     Nothing in this Protective Order shall relieve a party of its obligations under the

Federal Rules of Civil Procedure, Federal Rules of Bankruptcy Procedure, or under any future

stipulations and orders, regarding the production of documents or the making of timely responses

to discovery requests.

       34.     Nothing in this Protective Order shall prevent or otherwise restrict counsel from

rendering advice to their clients in this Chapter 11 Case and, in the course thereof, relying on

examination of Confidential or Highly Confidential Information; provided, however, that in

rendering such advice and otherwise communicating with such client, counsel shall not make

specific disclosure of any information in any manner that is inconsistent with the restrictions or

procedures set forth herein.

IT IS HEREBY STIPULATED AND AGREED:

Dated: August 15, 2014




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By:_/s/ Robert J. Kampfner______________        By:_/s/ David S. Meyer__________________
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By:_/s/ Charles A. Beckham, Jr. ___________          By:_/s/ Vincent P. Slusher_____
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   AT&T Services, Inc.
                                                18
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SO ORDERED:

Dated: Houston, Texas ____________________________________, 2014



                                      Honorable Marvin Isgur
                                      United States Bankruptcy Judge




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                                             EXHIBIT A

                                  ACKNOWLEDGMENT AND
                                AGREEMENT TO BE BOUND BY
                                    PROTECTIVE ORDER

I, __________________________, state:
1.       I reside at_________________________________________________________ .

2.       My present employer is______________________________________________ .

3.       My present occupation or job description is ______________________________ .

4.       I agree to keep confidential all information and material provided to me in re: Houston

Regional Sports Network, L.P., 13-35998 (Bankr. S.D. Tex.), and to be subject to the authority

of the United States Courts for the Southern District of Texas in the event of any violation of this

agreement or dispute related to this agreement.

5.       I have been informed of and/or read the Stipulation and Order Governing the Production

and/or Disclosure of Confidential Plan Documents and Authorizing the Filing of Certain

Documents Under Seal executed by the parties in the above- referenced matter (the “Protective

Order”), and I understand and will abide by its contents and confidentiality requirements. I will

not divulge any Confidential or Highly Confidential Discovery Materials (as defined in the

Protective Order) to persons other than those specifically authorized by the Protective Order. I

will not use any Discovery Materials in any manner not expressly allowed by the Protective

Order.

6.       I understand that violation of the Protective Order is punishable by contempt of court.

7.       I state under penalty of perjury that the foregoing is true and correct.
